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  8
                        UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
 10

 11    ARTHUR G. SMITH, JR. and           Case No. 8:23-cv-00987-JWH-DFM
       KERRI M. SMITH,
 12                                       CERTFICATE OF SERVICE
                     Plaintiff,
 13                                       Complaint Filed: June 6, 2023
             v.
 14

 15    MAS FINANCIAL SERVICES,
       INC. and JOHN DOES 1-10,
 16
                     Defendant.
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